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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF MISSOURI
                                    SOUTHEASTERN DIVISION

QUINTA SANDERS                                    )
                                                  )
            Plaintiff,                            )
                                                  )
v.                                                )
                                                  )
MISSISSIPPI COUNTY, MISSOURI,                     )       Case No. 1:18-CV-00269
CITY OF CHARLESTON, MISSOURI,                     )
CORY HUTCHESON, SALLY YANEZ,                      )
RYAN HILL, JOE ROSS,                              )
JOSH MALDONADO,                                   )
DECOTA MCGLOTHLIN,                                )
FAITH ALTAMIRANO,                                 )
ROBERT HEARNES,                                   )
CURTIS ARNOLD,                                    )
ZACHARY MATNEY, and                               )
AUSTIN HENSON                                     )
                                                  )
            Defendants.                           )


JOINT APPLICATION FOR APPROVAL OF THE PURCHASE OF ANNUITIES FROM
  THE MINORS’ DISTRIBUTION OF THE SETTLEMENT PROCEEDS FROM THE
 SETTLEMENT APPROVED BY THE COURT FOR THE INJURIES TO AND DEATH
    OF TORY D. SANDERS, DECEASED WITH THE CITY OF CHARLESTON,
  MISSOURI, ROBERT HEARNES, CURTIS ARNOLD, ZACHARY MATNEY, AND
                        AUSTIN HENSON ONLY
            Plaintiff Quinta Sanders, Individually, as representative of the Class 1 Beneficiaries

under the Missouri Wrongful Death Statute Mo.Rev.Stat. §537.080 (2016), and as an heir and

beneficiary of Tory D. Sanders, deceased (“Plaintiff”), and the City of Charleston, Missouri,

Robert Hearnes, Curtis Arnold, Zachary Matney, and Austin Henson (“City of Charleston

Defendants”) (Plaintiff and the City of Charleston Defendants referred to collectively as the

“Parties”), by and through counsel, pursuant to Mo.Rev.Stat. §507.184 (2016) apply to the Court

for an Order approving the purchase of annuities from the Minors’ distribution of the Settlement

Proceeds from the settlement for the injuries to and death of Tory D. Sanders, deceased and the

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collection and distribution of the Settlement Proceeds to the heirs and beneficiaries of Tory D.

Sanders, deceased approved by the Court on April 16, 2021, and in support thereof, alleges and

states:

1.          By Second Amended Order of the Court dated March 11, 2021, Quinta Sanders was

            appointed the Next Friend of T.M.D.S., Summer Lea Barrett was appointed the Next

            Friend of T.D.S. and D.C.B., Jocelyn Cox was appointed the Next Friend of J.A.M.C.,

            T.D.Q.S., J.T.E.C., and L.C., and Dreama Smith was appointed as the Next Friend of J.S.

            and Z.S. to represent each Minor child’s interest in the settlement with the City of

            Charleston Defendants.

2.          The Court heard evidence from the Parties in this case on April 14, 2021 about a

            proposed offer of the City of Charleston Defendants for the settlement of the claims

            asserted by the Plaintiff and other Class 1 beneficiaries for the injuries to and death of

            Tory D. Sanders, deceased against the City of Charleston Defendants with the Court

            approving the settlement pursuant to Mo.Rev.Stat. §§ 507.184 and 537.095 on April 16,

            2021 for the injuries to and death of Tory D. Sanders, deceased against the City of

            Charleston Defendants only in the amount of $500,000.00 to be paid by the City of

            Charleston Defendants, and further approving the distribution of the Settlement Proceeds

            to the heirs and beneficiaries of Tory D, Sanders, deceased, including the purchase of

            annuities for the Minors T.M.D.S., T.D.S., D.C.B., J.A.M.C., T.D.Q.S., J.T.E.C., L.C.,

            J.S. and Z.S. in the amount of $26,645.09 for each Minor as confirmed in the Order filed

            herein dated April 16, 2021. (Doc. #85)

3.          The Court approved a distribution from the Settlement Proceeds in the total amount of

            $239,805.81 for the purchase of nine annuities, one for each Minor, as being fair and


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            reasonable and in the best interest of the Minor heirs and beneficiaries of Tory D.

            Sanders, deceased. Savers Property & Casualty Insurance Company, on behalf of the

            City of Charleston Defendants, will purchase an annuity policy for each Minor as

            identified in Paragraph 2 from Metropolitan Tower Life Insurance Company upon the

            Court’s approval. The present cost of each annuity for each of the nine minors is

            $26,645.09.

4.          The Plaintiff and the City of Charleston Defendants now request the Court to approve the

            distribution from the Settlement Proceeds approved by the Court in the Order dated April

            16, 2021 filed herein for the purchase of an annuity policy for each Minor as described in

            Paragraph 2 above by Savers Property & Casualty Insurance Company, on behalf of the

            City of Charleston Defendants, from Metropolitan Tower Life Insurance Company with a

            periodic payment from each annuity policy to be made payable to each Minor after each

            Minor becomes eighteen (18) years of age and is no longer a Minor.

5.          The Plaintiff and the City of Charleston Defendants advise the Court that the sum of

            $26,645.09 for each of the nine (9) Minors for a total of $239,805.81 from the Settlement

            Proceeds distributed to the Minors as approved by the Court in the Order dated April 16,

            2021 shall be used to purchase a structured settlement annuity for the benefit of each

            Minor as identified in Paragraph 2. Savers Property & Casualty Insurance Company, as

            the insurer for the City of Charleston Defendants, shall fund a tax-free structured

            settlement annuity for each Minor from Metropolitan Tower Life Insurance Company (an

            A.M. Best A+15 rated life carrier) that will provide a periodic payment to each Minor

            after each Minor becomes eighteen (18) years of age and is no longer a Minor. The

            Periodic payment to each Minor will be assigned to MetLife Assignment Company, Inc.



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            by way of a Qualified Assignment and Release Agreement and the periodic payment to

            each Minor will be guaranteed by Metropolitan Tower Life Insurance Company by an

            Evidence of Guarantee that guarantees the payment obligation of MetLife Assignment

            Company, Inc. A copy of the Qualified Assignment and Release Agreement including a

            “Description of Periodic Payments” to all of the Minors will be filed herein upon the

            purchase of the annuities and the approval of the purchase of the annuities from Minors’

            distribution from the Settlement Proceeds by the Court.

6.          In accordance with the Qualified Assignment and Release Agreement, Metropolitan

            Tower Life Insurance Company through MetLife Assignment Company, Inc. shall make

            the following periodic payment to each Minor:

            I.             Periodic Payment, Payable to D.C.B. (“Payee”):
                           $34,711.27   Guaranteed lump sum, payable on 03/04/2034.
            II.            Periodic Payment, Payable to J.T.E.C. (“Payee”):
                           $33,413.96   Guaranteed lump sum, payable on 11/20/2032.
            III.           Periodic Payment, Payable to J.A.M.C. (“Payee”):
                           $30,108.89   Guaranteed lump sum, payable on 03/14/2029.
            IV.            Periodic Payment, Payable to L.C. (“Payee”):
                           $36,766.73   Guaranteed lump sum, payable on 01/12/2036.
            V.             Periodic Payment, Payable to T.D.Q.S. (“Payee”):
                           $30,840.58   Guaranteed lump sum, payable on 01/27/2030.
            VI.            Periodic Payment, Payable to T.M.D.S. (“Payee”):
                           $31,788.79   Guaranteed lump sum, payable on 02/13/2031.
            VII.           Periodic Payment, Payable to T.D.S. (“Payee”):
                           $29,826.24   Guaranteed lump sum, payable on 11/06/2028.
            VIII. Periodic Payment, Payable to J.S. (“Payee”):
                  $33,985.57   Guaranteed lump sum, payable on 06/19/2033.
            IX.            Periodic Payment, Payable to Z.S. (“Payee”):
                           $35,280.63   Guaranteed lump sum, payable on 09/17/2034.




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                  All sums set forth above constitute damages on account of personal physical injuries

                  or sickness, within the meaning of §104(a)(2) of the Internal Revenue Code of 1986,

                  as amended. The present value amount of the above referenced annuity payments to

                  all Minors is $239,805.81 ($26,645.09 for each Minor).

7.          Since the value of the settlements for each Minor is not greater than Ten Thousand

            Dollars ($10,000.00) to be paid to each Minor during the time that each of them is a

            Minor, an estate has not been opened for any Minor and the Next Friends for each Minor

            have not posted a bond pursuant to Missouri Rule of Civil Procedure 52.02 and

            Mo.Rev.Stat. §507.150 (2016). The Parties believe and represent to the Court that it is in

            the best interest of each Minor to purchase the annuities from the Settlement Proceeds

            and believe it is in the best interest of each Minor to distribute the Settlement Proceeds to

            each Minor as requested in Paragraphs 5 and 6. The Parties request the Court to approve

            the distribution of the Settlement Proceeds to each Minor as requested in Paragraphs 5

            and 6 for the purchase of the annuities without an estate being opened and without any

            Next Friend posting a bond because the settlement payment to each Minor from each

            annuity will be made to each Minor after each Minor reaches the age of eighteen (18)

            years of age and is no longer a Minor;

8.          The Parties request the Court to order the Next Friends to execute all documents required

            for the purchase of an annuity for each Minor including a Settlement Agreement and

            General and Full Release of All Claims for the Injuries to and Death of Tory D. Sanders,

            Deceased against Robert Hearnes, Curtis Arnold, Zachary Matney, Austin Henson and

            the City of Charleston, Missouri Only, the Qualified Assignment and Release Agreement,

            and a Receipt for the payment from the Settlement Proceeds distributed to each Minor


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            for the purchase of the annuities upon the approval of the purchase of the annuities from

            each Minors’ distribution of the Settlement Proceeds by the Court which will be filed

            herein upon execution and purchase of the annuities;

9.          The payment of the Settlement Proceeds on behalf of each Minor for the purchase of an

            annuity as requested herein is not to be construed as an admission of liability on the part

            of the City of Charleston Defendants with each City of Charleston Defendant denying

            any negligence or fault with respect to the alleged incidents or occurrences allegedly

            causing the injuries to and death of Tory D. Sanders, deceased on May 5, 2017; and

10.         Plaintiff requests leave of Court to waive a jury herein and to submit all issues to the

            Court for approval of the purchase of annuities for each Minor from the Settlement

            Proceeds distributed to each Minor from the settlement with the City of Charleston

            Defendants approved by the Court on April 16, 2021 as requested herein.

            WHEREFORE, Plaintiff and City of Charleston Defendants pray the Court to enter its

Order FINDING, ADJUDGING AND DECREEING:

                  (a) That Plaintiff is granted leave to waive a jury herein and to submit all issues to the

                           Court for the approval of the purchase of annuities for each Minor from the

                           Settlement Proceeds distributed to each Minor from the settlement with the City

                           of Charleston Defendants approved by the Court on April 16, 2021;

                  (b) That by Second Amended Order of the Court dated March 11, 2021, Quinta

                           Sanders was appointed the Next Friend of T.M.D.S., Summer Lea Barrett was

                           appointed the Next Friend of T.D.S. and D.C.B., Jocelyn Cox was appointed the

                           Next Friend of J.A.M.C., T.D.Q.S., J.T.E.C., and L.C., and Dreama Smith was




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                           appointed as the Next Friend of J.S. and Z.S. to represent each Minor child’s

                           interest in the settlement with the City of Charleston Defendants.

                  (c) That the Court approved a settlement pursuant to Mo.Rev.Stat. §507.184 and

                           §537.095 on April 16, 2021 for the injuries to and death of Tory D. Sanders,

                           deceased against the City of Charleston only in the amount of $500,000.00 to be

                           paid by the City of Charleston Defendants and approved the distribution of the

                           Settlement Proceeds to the heirs and beneficiaries of Tory D. Sanders, deceased,

                           including the purchase of annuities for the Minors T.M.D.S., T.D.S., D.C.B.,

                           J.A.M.C., J.T.E.C., L.C., T.D.Q.S., J.S. and Z.S. in the amount of $26,645.09 for

                           each Minor as confirmed in the Order filed herein dated April 16, 2021 (Doc.

                           #85);

                  (d) That the Court approved a distribution from the Settlement Proceeds in the total

                           amount of $239,805.81 for the purchase of nine annuities, one for each Minor, as

                           being fair and reasonable and in the best interest of the Minor heirs and

                           beneficiaries of Tory D. Sanders, deceased. Savers Property & Casualty

                           Insurance Company, on behalf of the City of Charleston Defendants, will

                           purchase an annuity policy for each Minor from Metropolitan Tower Life

                           Insurance Company upon the Court’s approval. The present cost of each annuity

                           for each of the nine minors is $26,645.09.

                  (e) That the Court approves the distribution from the Settlement Proceeds in the

                           amount of $26,645.09 for the purchase of an annuity policy by Savers Property &

                           Casualty Insurance Company, on behalf of the City of Charleston Defendants, for

                           and on behalf of each Minor from Metropolitan Tower Life Insurance Company



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                           with a periodic payment from each annuity being made payable to each Minor

                           after each Minor becomes eighteen (18) years of age and is no longer a Minor;

                  (f) That the sum of $26,645.09 for each of the nine (9) Minors for a total of

                           $239,805.81 from the Settlement Proceeds distributed to the Minors as approved

                           by the Court in the Order dated April 16, 2021 shall be used to purchase a

                           structured settlement annuity for the benefit of each Minor. Savers Property &

                           Casualty Insurance Company, as the Insurer for the City of Charleston

                           Defendants, shall fund a tax-free structured settlement annuity from Metropolitan

                           Tower Life Insurance Company, (an A.M. Best A+15 rated life carrier) that will

                           provide a periodic payment to each Minor after each Minor becomes eighteen

                           (18) years of age and is no longer a Minor. The periodic payment for each Minor

                           will be assigned to MetLife Assignment Company, Inc. by way of a Qualified

                           Assignment and Release Agreement and the periodic payment for each Minor will

                           be guaranteed by Metropolitan Tower Life Insurance Company by an Evidence of

                           Guaranty that guarantees the payment obligation of MetLife Assignment

                           Company, Inc. A copy of the Qualified Assignment and Release Agreement

                           including a “Description of Periodic Payments” for all Minors will be filed herein

                           upon the purchase of the annuities and approval of the purchase of the annuities

                           from the Minors’ distribution from the Settlement Proceeds by the Court.

                  (g) That in accordance with the Qualified Assignment and Release Agreement,

                           Metropolitan Tower Life Insurance Company through MetLife Assignment

                           Company, Inc. shall make the following periodic payment to each Minor:

                           a. Periodic Payment, Payable to D.C.B. (“Payee”):
                           $34,711.27   Guaranteed lump sum, payable on 03/04/2034.

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                           b. Periodic Payment, Payable to J.T.E.C. (“Payee”):
                           $33,413.96   Guaranteed lump sum, payable on 11/20/2032.
                           c. Periodic Payment, Payable to J.A.M.C. (“Payee”):
                           $30,108.89   Guaranteed lump sum, payable on 03/14/2029.
                           d. Periodic Payment, Payable to L.C. (“Payee”):
                           $36,766.73   Guaranteed lump sum, payable on 01/12/2036.
                           e. Periodic Payment, Payable to T.D.Q.S. (“Payee”):
                           $30,840.58   Guaranteed lump sum, payable on 01/27/2030.
                           f. Periodic Payment, Payable to T.M.D.S. (“Payee”):
                           $31,788.79   Guaranteed lump sum, payable on 02/13/2031.
                           g. Periodic Payment, Payable to T.D.S. (“Payee”):
                           $29,826.24   Guaranteed lump sum, payable on 11/06/2028.
                           h. Periodic Payment, Payable to J.S. (“Payee”):
                           $33,985.57   Guaranteed lump sum, payable on 06/19/2033.
                           i. Periodic Payment, Payable to Z.S. (“Payee”):
                           $35,280.63   Guaranteed lump sum, payable on 09/17/2034.
                  All sums set forth above constitute damages on account of personal physical injuries

                  or sickness, within the meaning of §104(a)(2) of the Internal Revenue Code of 1986,

                  as amended. The present value amount of the above referenced annuity payments to

                  all Minors is $239,805.81 ($26,645.09 for each Minor).

                  (h) Since the value of the settlement for each Minor is not greater than Ten Thousand

                           and no/100 Dollars ($10,000.00) to be paid to each Minor during the time that

                           each of them is a Minor, no estate/conservatorship will be opened for any Minor

                           and no bond pursuant to Missouri Rule of Civil Procedure 56.02 and Mo.Rev.Stat.

                           §507.150 (2016) will be posted;

                  (i) That Quinta Sanders, as Next Friend of T.M.D.S., Summer Barrett, as Next

                           Friend of T.D.S. and D.C.B., Jocelyn Cox, as Next Friend of J.A.M.C., T.D.Q.S.,

                           J.T.E.C., and L.C., and Dreama Smith, as Next Friend of J.S. and Z.S., Minor

                           children be ordered, empowered, authorized, and directed to execute all

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                           documents required for the purchase of annuities for each Minor including a

                           Settlement Agreement and General and Full Release of All Claims for the Injuries

                           to and Death of Tory D. Sanders, Deceased Against Robert Hearnes, Curtis

                           Arnold, Zachary Matney, Austin Henson, and the City of Charleston, Missouri

                           Only, the Qualified Assignment and Release Agreement, and a Receipt for the

                           Payment from the Settlement Proceeds distributed to each Minor for the purchase

                           of the annuities upon the approval of the purchase of the annuities from each

                           Minors’ distribution of the Settlement Proceeds by the Court which will be filed

                           herein upon the execution and the purchase of the annuities;

                  (j) That the payment of the Settlement Proceeds on behalf of each Minor for the

                           purchase of an annuity as requested herein is not to be construed as an admission

                           of liability on the part of the City of Charleston Defendants with each City of

                           Charleston Defendant denying any negligence or fault with respect to the alleged

                           incidents or occurrences allegedly causing the injuries to and death of Tory D.

                           Sanders, deceased on May 5, 2017; and

                  (k) For such other and further relief that the Court deems just and proper.

                                                         Respectfully submitted,

                                                         WENDT LAW FIRM, P.C.

                                                         By: /s/ Samuel M. Wendt
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                                     and




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                                     NEXT FRIENDS OF THE MINOR CHILDREN

                                     and


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                                   CERTIFICATE OF SERVICE

            The undersigned hereby certifies that the attorney whose name appears above signed the

original of this pleading and that true and correct copy of the foregoing was filed with the Clerk

of the Court to be served by the operation of the Court’s electronic filing system and sent via

First Class U.S. Mail this 14th day of May, 2021 to:


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